                   IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

GUILFORD COLLEGE, GUILFORD COLLEGE                       )
INTERNATIONAL CLUB, THE NEW SCHOOL,                      )
FOOTHILL-DE ANZA COMMUNITY COLLEGE                       )
DISTRICT, HAVERFORD COLLEGE, THE                         )
AMERICAN FEDERATION OF TEACHERS,                         )
JIA YE, and SEN LI,                                      )
                                                         )
                             Plaintiffs,                 )
                                                         )
                      v.                                 )             1:18CV891
                                                         )
KEVIN MCALEENAN, U.S. DEPARTMENT OF                      )
HOMELAND SECURITY, L. FRANCIS CISSNA,                    )
and U.S. CITIZENSHIP AND IMMIGRATION                     )
SERVICES,                                                )
                                                         )
                             Defendants.                 )

                                           ORDER

       For the reasons set forth in the Memorandum Opinion and Order filed

contemporaneously with this Judgment,

       IT IS HEREBY ORDERED that the parties shall engage in expedited summary

judgment briefing as follows:

              (i)    Cross-motions for summary judgment and supporting
                     documents, including brief, shall be due no later than May
                     13, 2019;

              (ii)   Responses to motions for summary judgment shall be due
                     no later than May 23, 2019;

              (iii) Replies to responses to motions for summary judgment
                    shall be due no later than May 30, 2019.

       IT IS FURTHER ORDERED that Defendants shall file an Answer to Plaintiffs’ First

Amended Complaint no later than May 13, 2019.




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This, the 3rd day of May, 2019.



                                  /s/ Loretta C. Biggs
                                  United States District Judge




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